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               United States Court of Appeals
                             For the First Circuit
                               _____________________

No. 25-1169

              O. DOE; BRAZILIAN WORKER CENTER; LA COLABORATIVA,

                                  Plaintiffs - Appellees,

                                            v.

    DONALD J. TRUMP, in their official capacity as President of the United States; US
 DEPARTMENT OF STATE; MARCO RUBIO, in their official capacity as Secretary of State;
  US SOCIAL SECURITY ADMINISTRATION; FRANK J. BISIGNANO, in their official
                  capacity as Commissioner of Social Security,

                                Defendants - Appellants.
                                 __________________

No. 25-1170

   STATE OF NEW JERSEY; COMMONWEALTH OF MASSACHUSETTS; STATE OF
    CALIFORNIA; STATE OF COLORADO; STATE OF CONNECTICUT; STATE OF
   DELAWARE; DISTRICT OF COLUMBIA; STATE OF HAWAII; STATE OF MAINE;
 STATE OF MARYLAND; DANA NESSEL, Attorney General for the People of the State of
  Michigan; STATE OF MINNESOTA; STATE OF NEVADA; STATE OF NEW MEXICO;
 STATE OF NEW YORK; STATE OF NORTH CAROLINA; STATE OF RHODE ISLAND;
    STATE OF VERMONT; STATE OF WISCONSIN; CITY AND COUNTY OF SAN
                                FRANCISCO,

                                  Plaintiffs - Appellees,

                                            v.

    DONALD J. TRUMP, in their official capacity as President of the United States; US
 DEPARTMENT OF STATE; MARCO RUBIO, in their official capacity as Secretary of State;
US DEPARTMENT OF HOMELAND SECURITY; KRISTI NOEM, in their official capacity as
     Secretary of Homeland Security; US DEPARTMENT OF HEALTH AND HUMAN
 SERVICES; ROBERT F. KENNEDY, JR., in their official capacity as Secretary of Health and
 Human Services; US SOCIAL SECURITY ADMINISTRATION; FRANK J. BISIGNANO, in
       their official capacity as Commissioner of Social Security; UNITED STATES,

                                Defendants - Appellants.
                                 __________________
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                                                Before

                                       Barron, Chief Judge,
                               Rikelman and Aframe, Circuit Judges.
                                      __________________

                                       ORDER OF COURT
                                       Entered: July 3, 2025

        The defendants-appellants have filed a Motion for Supplemental Briefing Order (the
"Motion") to this court in connection with New Jersey v. Trump, No. 25-1170. That case involves
the defendants-appellants' appeal of a February 13, 2025 order by the United States District Court
for the District of Massachusetts. The District Court's order granted a "universal" preliminary
injunction enjoining the enforcement of Executive Order No. 14,160, titled "Protecting the
Meaning and Value of American Citizenship." Exec. Order No. 14,160, 90 Fed. Reg. 8449 (Jan.
20, 2025). That appeal is pending in this court, and oral argument is scheduled in this court on
August 1, 2025. The Motion asks us to order supplemental briefing on the effect of the United
States Supreme Court's order in Trump v. CASA, Inc., 606 U.S. __ (2025), on this appeal to "allow
this Court to 'move expeditiously to ensure that . . . the injunctio[n] comport[s] with' the Supreme
Court's decision." They propose a schedule in which the supplemental briefs "would be due on
July 11" so that "[t]he Court would then be positioned to rule on whether the nationwide injunction
is broader than necessary to provide complete relief to the plaintiffs, an issue this Court declined
to consider in initially ruling on the government's stay motion." They further assert that "adopting
this course would comport with the Supreme Court's instruction that the lower courts should 'move
expeditiously' to resolve outstanding issues about the scope of the injunction." The
plaintiffs-appellees oppose the Motion. They do so on the grounds that, "because the core
questions prompted by CASA are factual, not legal," the District Court is the "proper forum" for
resolving the questions prompted by the Supreme Court's order in CASA.

        In CASA, 606 U.S. __, the Supreme Court addressed the defendants-appellants' application
to stay the preliminary injunction on appeal in No. 25-1170, which had been consolidated with
similar applications in other cases. The Court held that "universal injunctions" -- that is,
injunctions that "prohibit enforcement of a law or policy against anyone" -- "likely exceed the
equitable authority that Congress has granted to federal courts." Id. slip op. at 1-2 (footnote
omitted). But it expressly stated that the injunction on appeal in No. 25-1170 "does not purport to
directly benefit nonparties." Id. slip op. at 17. The Court noted instead that "the District Court for
the District of Massachusetts decided that a universal injunction was necessary to provide the
[plaintiffs-appellees] themselves with complete relief." Id. slip op. at 17-18. It further recognized
that "the principle that a court of equity may fashion a remedy that awards complete relief" has
"deep roots in equity." Id. slip op. at 15. It also observed that "to say that a court can award
complete relief is not to say that it should do so" and that "in equity, the broader and deeper the
remedy the plaintiff wants, the stronger the plaintiff's story needs to be." Id. slip op. at 18 (cleaned
up). The Court then noted the defendants-appellants' contentions that "narrower relief" was
appropriate in this case, but "decline[d] to take up these arguments in the first instance." Id. slip
op. at 19. The Court's order stated that "[t]he lower courts should determine whether a narrower
injunction is appropriate" and "le[ft] it to them to consider these and any related arguments." Id.

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Finally, the Court "granted" "[t]he Government's applications to partially stay the preliminary
injunctions . . . but only to the extent that the injunctions are broader than necessary to provide
complete relief to each plaintiff with standing to sue." Id. slip op. at 26. It then instructed "[t]he
lower courts" to "move expeditiously to ensure that, with respect to each plaintiff, the injunctions
comport with this rule and otherwise comply with principles of equity." Id.

        In urging us to grant the Motion, the defendants-appellants state that "[i]f the district court’s
existing decision is insufficient to establish" that the universal injunction entered in this case
comports with the complete-relief principle and other principles of equity, "then the universal
scope of that injunction is appropriately stayed." There is no motion, however, pending before
this court for a stay pending appeal of the preliminary injunction on appeal in No. 25-1170, which
injunction the defendants-appellants appear to agree is not stayed at present. To be sure, on
February 27, 2025, the defendants-appellants did file a motion in our court to stay the injunction,
as they note in the Motion. But we denied the stay and, in the opinion doing so, we declined to
address the "narrower relief" proposed by the defendants-appellants in their stay motion to this
court because they had failed to raise it in opposing the grant of a nationwide preliminary
injunction in the preliminary injunction proceedings themselves or in requesting a stay of that
injunction from the District Court. See New Jersey v. Trump, 131 F.4th 27, 43 (1st Cir. 2025)
(citing Philip Morris, Inc. v. Harshbarger, 159 F.3d 670, 680 (1st Cir. 1998), for the proposition
that "[a]s a general rule, a disappointed litigant cannot surface an objection to a preliminary
injunction for the first time in an appellate venue"). We note, too, that any new motion for interim
relief pending appeal would generally have to be filed first in the District Court. See Fed. R. App.
P. 8(a)(1). Thus, to the extent the Motion seeks the order of supplemental briefing for the purpose
of securing interim relief from us as to the preliminary injunction pending our resolution of the
appeal, it provides no basis for the order as it provides no basis for this court to act with respect to
the provision of any such relief in the first instance.

        Moreover, CASA provides fresh guidance regarding the equitable powers of federal courts.
See CASA, 606 U.S. at __, slip op. at 17-18. Thus, in aid of our consideration of the issues on
appeal, and consistent with the Supreme Court's instruction that "[t]he lower courts should
determine whether a narrower injunction is appropriate" and "move expeditiously" to ensure that
the injunction comports with the "principles of equity" described in CASA, id. slip op. at 19, 26
(emphasis added), we conclude that it is prudent to remand to the District Court, while retaining
our jurisdiction over the appeal. The remand is for the limited purpose of enabling the District
Court to consider the bearing, if any, of that guidance in CASA on the scope of the preliminary
injunction in No. 25-1170 and to act accordingly. In doing so, we expect the District Court to
address any arguments that the parties may advance with respect to what grounds may now be
asserted regarding the injunction's scope.

         For these reasons, the Motion is denied, and the matter is remanded to the District Court
for the limited purposes described herein, with this court retaining jurisdiction. We understand the
District Court will act promptly in accordance with the briefing schedule that it entered on July 2,
2025.

                                                                By the Court:
                                                                Anastasia Dubrovsky, Clerk

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cc: Hon. Leo T. Sorokin, Robert Farrell, Clerk, United States District Court for the District of
Massachusetts, Jeremy Feigenbaum, Shankar Duraiswamy, Elizabeth R. Walsh, Viviana Maria
Hanley, Jared B. Cohen, Gerard J. Cedrone, Annabelle Cathryn Wilmott, Delbert Tran, Denise
Yesenia Levey, Irina Trasovan, Lorraine Lopez, Marissa Malouff, Christopher David Hu, Michael
Louis Newman, Shannon Wells Stevenson, William M. Tong, Janelle Medeiros, Vanessa L.
Kassab, Jeremy Girton, Caroline S. Van Zile, Kalikoonalani Diara Fernandes, Sean D. Magenis,
Thomas A. Knowlton, Adam D. Kirschner, John C. Keller, Heidi Parry Stern, James Grayson,
Ester Murdukhayeva, Matthew William Grieco, Daniel Paul Mosteller, Katherine Connolly
Sadeck, Leonard Giarrano IV, Jonathan T. Rose, Gabe Johnson-Karp, David Scott Louk, Sharon
Swingle, Donald Campbell Lockhart, Leah Belaire Foley, Eric Dean McArthur, Mark R. Freeman,
Brett Allen Shumate, Abraham R. George, Bradley Hinshelwood, Derek Weiss, Jonathan
Benjamin Miller, James Matthew Rice, Whitney D. Hermandorfer, George W. Vien, R. Trent
McCotter, Pietro Alfredo Conte, Matt A. Crapo, Ryan P. McLane, Rubin Young, Mark Marvin,
Melvin Jones Jr., Colleen Connors, Leonard W. Houston, Neil Giovanatti, Stephanie M. Service,
Toni L. Harris, William J. Olson, Jeremiah Morgan, Cody C. Coll, Ari Cuenin, Judd E. Stone II,
Anna Marks Baldwin, James J. Pastore Jr., Chester S. Dubov, Natalie Tsang, Stephanie De
Marisco Thomas, Reena Parikh, Juan Camilo Mendez Guzman, Vincent Levy, Hannah Bartlett,
Douglas Edward Lieb, Jonathan Weinberg, Douglas Jensen, Brianne J. Gorod, Indra Neel
Chatterjee, Owen Richard Wolfe, Lori Chen, Wendy Mengwen Feng, Steven Ury, Edgar Chen,
Richard B. Kendall, Jonathan Hacker, Susan McMahon, Robert Seungchul Chang, Bethany Yue
Ping Li, Jessica Levin, Melissa Lee, Ivan E. Espinoza-Madrigal, Oren McCleary Sellstrom, Mirian
Albert




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